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                         Consol. Nos. 2021-2066 & 2252


UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT



              PRIMESOURCE BUILDING PRODUCTS, INC.
                        P laintiff-Appellee

                                       V.

  UNITED STATES, JOSEPH R. BIDEN, JR., President of the United States,
 GINA M. RAIMONDO, Secretary of Commerce, CHRISTOPHER MAGNUS,
 Commissioner of the U.S. Customs and Border Protection, UNITED STATES
CUSTOMS AND BORDER PROTECTION, DEPARTMENT OF COMMERCE,
                           Defendants-Appellants


  OMAN FASTENERS, LLC, HUTTIG BUILDING PRODUCTS, INC., and
                       HUTTIG, INC.,
                     Plaintiffs-Appellees

                                       v.

  UNITED STATES, JOSEPH R. BIDEN, JR., President of the United States,
       UNITED STATES CUSTOMS AND BORDER PROTECTION,
  CHRISTOPHER MAGNUS, Commissioner of the U.S. Customs and Border
   Protection, DEPARTMENT OF COMMERCE, GINA M. RAIMONDO,
                       Secretary of Commerce,
                       Defendants-Appellants


        Appeals from the United States Court of International Trade in
  case nos. 20-00032 and -00037, Judges Timothy C. Stanceu, Jennifer Choe-
                        Groves, and M. Miller Baker
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   CONSENT MOTION OF PLAINTIFF-APPELLEE PRIMESOURCE
 BUILDING PRODUCTS, INC. FOR WITHDRAWAL OF WENHUI JI AS
                         COUNSEL

      Pursuant to Federal Circuit Rules 27 and 47.3(c)(5), Plaintiff-Appellee

PrimeSource Building Products, Inc. respectfully moves to withdraw Wenhui Ji as

counsel in this matter as Ms. Ji is no longer with Mowry & Grimson, PLLC. Jeffrey

S. Grimson will remain the principal counsel for Mowry & Grimson on behalf of

PrimeSource, which has been notified of this change.         Counsel for Plaintiffs-

Appellees Oman Fasteners, LLC, Huttig Building Products, Inc. and Huttig, Inc. and

counsel for Defendants-Appellants, the United States, Joseph R. Biden, Jr., President

of the United States, United States Customs and Border Protection, Christopher

Magnus, Commissioner of the United States Customs and Border Protection, United

States Customs and Border Protection, Department of Commerce, have both

consented to the relief requested in this motion via email on January 30, 2023.

      For the foregoing reasons, PrimeSource respectfully requests that the Court

grant this consent motion to withdraw Wenhui Ji as attorney of record.
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                                  Respectfully submitted,

January 31, 2023                  Isl Jeffrey S. Grimson
                                  Jeffrey S. Grimson
                                  Jill A. Cramer
                                  Bryan P. Cenko
                                  MOWRY & GRIMSON, PLLC
                                  5335 Wisconsin Ave., NW, Ste. 810
                                  Washington, DC 20015
                                  Counsel to PrimeSource Building Products,
                                  Inc.




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FORM 9. Certificate of Interest                                                    Form 9 (p. 1)
                                                                                      July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 21-2066
   Short Case Caption PrimeSource Building Products, Inc. v. US
   Filing Party/Entity PrimeSource Building Products, Inc.



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box . Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


  Date:   01/31/2023                        Signature:    Isl Jeffrey S. Grimson

                                            Name:         Jeffrey S. Grimson
               Case: 21-2066          Document: 84      Page: 5      Filed: 01/31/2023



FORM 9. Certificate of Interest                                                          Form 9 (p. 2)
                                                                                            July 2020


      1. Represented                      2. Real Party in            3. Parent Corporations
          Entities.                           Interest.                  and Stockholders.
    Fed. Cir. R. 47.4(a)(l).            Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented             all real parties in interest    all parent corporations
 by undersigned counsel in            for the entities. Do not        for the entities and all
 this case.                           list the real parties if        publicly held companies
                                      they are the same as the        that own 10% or more
                                      entities.                       stock in the entities.

                                      0 None/Not Applicable           D None/Not Applicable

PrimeSource Building Products, Inc.                                  PriSo Acquisition Corporation
                                                  NIA




                                  D      Additional pages attached
                        Case: 21-2066                         Document: 84                         Page: 6            Filed: 01/31/2023



FORM 9. Certificate of Interest                                                                                                                        Form 9 (p. 3)
                                                                                                                                                          July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

 □            None/Not Applicable                                                     □              Additional pages attached
                           James C. Beaty                                           Wenhui (Flora) Ji
              Curtis, Mallet-Prevost, Colt & Moele LLP                    Akin Gump Strauss Hauer & Feld LLP
     1717PeI1D.sylvaniaAvenue NW#1300, Washington, DC 20006               2001 K St NW, Wuhmgton, DC 20006




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court's decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).

 □             None/Not Applicable                                                    IZl            Additional pages attached
 Oman Fasteners, LLC v. United States, Cons.                  USP Holdings, Inc. v. United States, Appeal No.
       Appeal No. 21-2066 (Fed. Cir.)                                      21-1726 (Fed. Cir.)


 Approx. 12 Ct. oflnt'l Trade cases challenging               Astrotech Steels Private Ltd. v. United States,          Trinity Steel Private Ltd. v. United States, No.
  Proclamation 9980, including the following:                           No. 20-46 (Ct. Int'! Trade)                                 20-4 7 (Ct. Int'! Trade)


 New Supplies Co., Inc., et al., v. United States,                         Aslanbas Nail & Wire Co.,                          J. Conrad LTD v. United States,
         No. 20-48 (Ct. Int'! Trade)                          et al., v. United States, No. 20-49 (Ct. Int'! Trade)           Court No. 20-52 (Ct. Int'! Trade)




 6. Organizational Victims and Bankruptcy Cases . Provide any information
 required under Fed. R. App. P. 26.l(b) (organizational victims in criminal cases)
 and 26.l(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 0             None/Not Applicable                                                    □              Additional pages attached
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FORM 9. Certificate of Interest                                                                                                       Form 9 (p. 3)
                                                                                                                                         July 2020


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 □          None/Not Applicable                                      □          Additional pages attached




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 R. 47.5(b).

 □          None/Not Applicable                                      IZl        Additional pages attached
  Metropolitan Staple Corp. v. United States,    SouthernCarlson, Inc., et al., v. United States,   Tempo Global Resources, LLC v. United States,
       Court No. 20-53 (Ct. Int'! Trade)                  No. 20-56 (Ct. Int'! Trade)                        No. 20-66 (Ct. Int'! Trade)


  Farrier Product Distribution, Inc. v. United   Geekay Wires Ltd. v. United States, No. 20-118     Hilti, Inc. v. United States, No. 21-216 (Ct. Int'!
       States, No. 20-98 (Ct. Int'! Trade)                     (Ct. Int'! Trade)                                          Trade)


  Home Depot USA, Inc. v. United States, No.      Approx. 3 Ct. oflnt'l Trade cases challenging      Acemar Intermetal USA LLC v United States,
           22-14 (Ct. Int'! Trade)                 Proclamation 9772, including the following:            Court No. 20-129 (Ct. Int'! Trade)




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.l(b) (organizational victims in criminal cases)
 and 26.l(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

 □          None/Not Applicable                                      □          Additional pages attached
                   Case: 21-2066                 Document: 84               Page: 8           Filed: 01/31/2023



FORM 9. Certificate of Interest                                                                                   Form 9 (p. 3)
                                                                                                                     July 2020


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 □          None/Not Applicable                                   □          Additional pages attached




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 R. 47.5(b).

 □          None/Not Applicable                                   □          Additional pages attached
  ME Global, Inc. v. United States, No. 20-130   Intermetal Rebar LLC v. United States, No.
                (Ct. Int'l Trade)                         20-167 (Ct. Int'l Trade)




 6. Organizational Victims and Bankruptcy Cases. Provide any information
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 and 26.l(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

 □          None/Not Applicable                                   □          Additional pages attached
